            Case 2:16-cr-00287-JLR Document 990 Filed 07/26/24 Page 1 of 1




 1                                                                       The Honorable James L. Robart
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 6
                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
                                                                   No. CR16-287-JLR
 9     UNITED STATES OF AMERICA,                                                                        ~b
10                                                                 lf'Rtl:fflsta)] ORDER
                                                                   CONSOLIDATING MOTIONS
11                        V.                                       FOR POST-CONVICTION
12                                                                 RELIEF AND EXTENDING
       BALTAZAR REYES GARCIA,                                      DEADLINE FOR RESPONSE
13
                                              DEFENDANT.
14
15
16          Before the Court is the United States' Motion to Consolidate Motions for Post-

17 Conviction Relief and Extend Deadline for Response. Upon review of the Motion, the
18 Court finds the United States has shown good cause and GRANTS the motion. The
19 United States may file one response addressing Baltazar Reyes Garcia's three motions for
20 post-conviction relief, Dkt. 982-984, on or before August 26, 2024.
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21                   DATED thisl' th day of July, 2024.
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22
23                                                            JAMES L. ROBART
                                                              United Sta es District Judge
24
     Presented by:
25
26 Is Lyndsie R. Schmalz
   LYNDSIE R. SCHMALZ
27 Assistant United States Attorney
     [Proposed] Order Consolidating and Granting Extension of Time - I      UNITED STATES ATTORNEY
     United States v. Reyes Garcia, CR16-287-JLR                           700 STEWART STREET, SUITE 5220
     USAO No. 2024V00559                                                     SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
